  Case 1:23-cr-00347-JGK    Document 136-9     Filed 04/17/25   Page 1 of 2




To
Honorable John G. Koeltl
(Daniel Patrick Moynihan)
United States Courthouse,
Courtroom 14A
500 Pearl St.
New York. NY 10007-1312


1 January 2025

Dear Judge Koeltl

I am writing this letter with regard to the case of Alexander Mashinsky, the
co-founder and former CEO of the bankrupted Celsius Network.

I am based in Hong Kong and was in marketing and film business with an
MBA degree until recent years when I have retired and now primarily
serving at my church community.

Even to this date I still believe that Mr. Mashinsky had a great concept and
good intention in helping individuals manage and accumulate personal
wealth. It is an unconventional approach but one which I and many others
believe is a better approach. And that is why I had staked some of the
crypto currencies I had bought at the Celsius Network platform.

As far as I know and can observe, Mr. Mashinsky had been cooperative
and made his best attempts in order to compensate the users of Celsius
including myself. My heart goes out to Mr. Mashinsky and sincerely hope
he will get a very lenient sentence.


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                                                                         Ex. A-8
  Case 1:23-cr-00347-JGK    Document 136-9    Filed 04/17/25   Page 2 of 2




(Page 2 – Continuation)



My disclaimer: I don't know Mr. Mashinsky personally nor does he know
me. However, I feel that he is a man with vision, courage and
accountability. So, there's a prompting in my heart to plead for him. Our
society seems to like to hit someone when he's down but I feel I should do
something to defend him instead. I honestly don't think Mr. Mashinsky is a
criminal nor should he be treated like one.

Please kindly consider giving him the most lenient sentence possible.

Thank you for your time to read my letter.

With Best Regards.

Yours Truly




(Keung Pui On, Patty)




Hong Kong SAR
Email:




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